Case 3:18-cv-07354-WHA Document 188-9 Filed 12/12/19 Page 1 of 8




                     EXHIBIT 8
      Case 3:18-cv-07354-WHA Document 188-9 Filed 12/12/19 Page 2 of 8

COSZETTA TEAGUE                                                                                      June 27, 2019
HERNANDEZ vs WELLS FARGO                                                                                       1–4
                                                   Page 1                                                         Page 3
·1· · · · · ·IN THE UNITED STATES DISTRICT COURT            ·1· · · ·THE VIDEOGRAPHER:· My name is David Lehman,
·2· · · · · · ·NORTHERN DISTRICT OF CALIFORNIA              ·2· certified legal video specialist with Esquire
·3· · · · · · · · ·SAN FRANCISCO DIVISION                   ·3· Solutions located at 20 North Clark Street, Chicago,
·4                                                          ·4· Illinois 60602.
·5· ALICIA HERNANDEZ, et al.,· · · · )                      ·5· · · · · · ·I'm the videographer on June 27, 2019,
·6· individually and on behalf of· · )                      ·6· for the recording of the deposition of
·7· all others similarly situated,· ·)· 18-cv-07354-WHA     ·7· Coszetta Teague being taken at 35 West Wacker Drive,
·8· · · · · · · · · Plaintiffs,· · · )                      ·8· Chicago, Illinois 60601, at the time of 9:09 a.m. in
·9· · · ·vs.· · · · · · · · · · · · ·)                      ·9· the matter of Alicia Hernandez, et al., versus Wells
10· WELLS FARGO & COMPANY and· · · · )                      10· Fargo & Company, Case No. 18-cv-07354-WHA.
11· WELLS FARGO BANK, N.A.,· · · · · )                      11· · · · · · ·Will counsel please identify themselves
12· · · · · · · · · Defendants.· · · )                      12· for the record, beginning with the plaintiffs'
13                                                          13· counsel.
14· · · ·The videotaped deposition of COSZETTA TEAGUE,      14· · · ·MR. BLOOMFIELD:· Josh Bloomfield on behalf of
15· called for examination, taken pursuant to the           15· plaintiffs.
16· Federal Rules of Civil Procedure for the United         16· · · ·MS. GROVES:· Amanda Groves and Lawrence Slusky
17· States District Courts, taken before                    17· on behalf of defendants.
18· KAREN L. PILEGGI, CSR No. 84-3404, a Notary Public,     18· · · ·THE VIDEOGRAPHER:· Will the reporter please
19· within and for the County of DuPage, State of           19· swear in the witness.
20· Illinois, Certified Shorthand Reporter within and       20· · · · · · · · · (WHEREUPON, the witness was
21· for the State of Illinois, Registered Merit             21· · · · · · · · · duly sworn.)
22· Reporter, at 35 West Wacker Drive, Chicago,             22· · · · · · · · · · COSZETTA TEAGUE,
23· Illinois, June 27, 2019, at the approximate hour of     23· called as the witness herein, having been first duly
24· 9:09 a.m.                                               24· sworn, was examined and testified as follows:

                                                   Page 2                                                           Page 4
·1·   PRESENT:                                              ·1· · · · · · · · · · · EXAMINATION
·2·   · · ·GIBBS LAW GROUP, LLP,
· ·   · · ·505 14th Street, Suite 1110,                     ·2· BY MS. GROVES:
·3·   · · ·Oakland, California· 94612,                      ·3· · · ·Q.· · Good morning, Ms. Teague.
· ·   · · ·510-350-9703, by:
·4·   · · ·MR. JOSHUA BLOOMFIELD,                           ·4· · · ·A.· · Good morning.
· ·   · · ·jjb@classlawgroup.com,                           ·5· · · ·Q.· · We met a few minimums going, but for the
·5·   · · · · · ·appeared on behalf of the Plaintiffs;
·6·   · · ·WINSTON & STRAWN, LLP,                           ·6· record, my name is Amanda Groves.· I'm an attorney
· ·   · · ·101 California Street, 35th Floor,               ·7· at Winston & Strawn and we are representing Wells
·7·   · · ·San Francisco, California· 94111,
· ·   · · ·415-591-1000, by:                                ·8· Fargo in the lawsuit, and we are here today to take
·8·   · · ·MS. AMANDA L. GROVES,                            ·9· your deposition.
· ·   · · ·agroves@winston.com,
·9·   · · · · · ·-and-                                      10· · · · · · ·Have you ever had your deposition taken
· ·   · · ·WINSTON & STRAWN, LLP,                           11· before?
10·   · · ·1700 K Street, NW,
· ·   · · ·Washington, DC· 20006,                           12· · · ·A.· · No.
11·   · · ·202-282-5322, by:                                13· · · ·Q.· · So I'll kind of go over a few of what we
· ·   · · ·MR. LAWRENCE E. SLUSKY,
12·   · · ·lslusky@winston.com,                             14· call the ground rules that help the deposition
· ·   · · · · · ·appeared on behalf of the Defendants;      15· proceed a little bit more smoothly and help us get a
13
· ·   ALSO PRESENT:· Stephanie Turner;                      16· clean record.
14·   · · · · · · · ·Chennell Coleman;                      17· · · · · · ·The first and most important part of the
15·   VIDEOGRAPHER:· David Lehman,
· ·   · · · · · · · · Esquire Deposition Solutions;
                                                            18· ground rules for a deposition is that you are under
16                                                          19· oath.· You are testifying today under penalty of
17
18
                                                            20· perjury and the oath that you gave a moment ago has
19                                                          21· the same force and effect as if we were sitting in a
20
21
                                                            22· court of law.· Do you understand that?
22                                                          23· · · ·A.· · Yes.
23·   · ·REPORTED BY:· Karen Pileggi, CSR, RPR, RMR, CRR.
24·   · · · · · · · CSR License No. 84-3404
                                                            24· · · ·Q.· · Another important aspect of the


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     Case 3:18-cv-07354-WHA Document 188-9 Filed 12/12/19 Page 3 of 8

COSZETTA TEAGUE                                                                                                June 27, 2019
HERNANDEZ vs WELLS FARGO                                                                                              53–56
                                                     Page 53                                                                Page 55
·1· · · ·A.· · Yes, I was staying in my car.· Yes.               ·1· · · ·A.· · No.
·2· · · ·Q.· · Where did you stay in your car?· Like             ·2· · · ·Q.· · The sheriff never showed up, right?
·3· where was your car?                                          ·3· · · ·A.· · No.
·4· · · ·A.· · Wherever there was a park and it was safe         ·4· · · ·Q.· · Nobody came in and said you have to --
·5· for me and my family.                                        ·5· nobody knocked on the door and said you need to move
·6· · · ·Q.· · Was the -- so the Luella Avenue property          ·6· out, we bought the house, we're trying to move in,
·7· was vacant, nobody was living there, correct, during         ·7· right?
·8· this time?                                                   ·8· · · ·A.· · My attorney called me and told me that.
·9· · · ·A.· · During what time?                                 ·9· · · ·MR. BLOOMFIELD:· Wait --
10· · · ·Q.· · The time that you were in your car.               10· BY MS. GROVES:
11· · · ·A.· · Yes.                                              11· · · ·Q.· · Right.· I think the cat is kind of out of
12· · · ·Q.· · So rather than -- I'm trying to                   12· the bag on that.
13· understand.· Rather than living -- it was you and            13· · · · · · ·Is there any reason other than your
14· Iesha, right?                                                14· attorney telling you that the sheriff was going to
15· · · ·A.· · And my grandkids.                                 15· be coming, that you moved yourself and three
16· · · ·Q.· · You had your grandkids at the time you            16· children into a car in December of 2014?
17· were in -- at the time your house was foreclosed on?         17· · · ·A.· · Yes.
18· · · ·A.· · Yes.                                              18· · · ·Q.· · What other reasons did you do that?
19· · · ·Q.· · Makala and Marón?                                 19· · · ·A.· · The hot water tank went out.· We didn't
20· · · ·A.· · Makala and Marón.                                 20· have no heat and we didn't have no gas.
21· · · ·Q.· · You testified earlier that they had moved         21· · · ·Q.· · In the house?
22· out in 2012.                                                 22· · · ·A.· · In the house.· And there was mold in the
23· · · ·A.· · Yes.                                              23· house.
24· · · ·Q.· · Does that refresh your recollection that          24· · · ·Q.· · Because I was especially curious about,

                                                       Page 54                                                       Page 56
·1· you didn't have your grandkids in December of 2014?          ·1· it was probably very cold?
·2· · · ·MR. BLOOMFIELD:· Objection to form.                     ·2· · · ·A.· · It was.
·3· BY THE WITNESS:                                              ·3· · · ·Q.· · In the car.
·4· · · ·A.· · I had them, yes.                                  ·4· · · ·A.· · No.· I had heat in my car.
·5· BY MS. GROVES:                                               ·5· · · ·Q.· · But the house had no heat?
·6· · · ·Q.· · So your testimony earlier that they moved         ·6· · · ·A.· · None.
·7· out in 2012 was wrong?                                       ·7· · · ·Q.· · Why not?
·8· · · ·A.· · No.· No.· That's right.                           ·8· · · ·A.· · The hot water tank went out.· And there
·9· · · ·Q.· · Then why did you have them in 2014 if             ·9· was water in the basement and it was so cold that
10· they had moved out in 2012?                                  10· mold -- mold was already in the house, but mold had
11· · · ·A.· · My daughter had an incident that happened         11· developed on the walls, and I wasn't going to stay
12· and they had to come back with me.                           12· in there.· It was unsafe for me to stay in there.
13· · · ·Q.· · So it was you, Iesha, Makala and Marón            13· · · ·Q.· · You had asthma, right?
14· and for how long -- strike that.                             14· · · ·A.· · Yes.
15· · · · · · ·Was there any reason other than advice            15· · · ·Q.· · And so did Iesha?
16· from your foreclosure attorney that you moved                16· · · ·A.· · Yes.
17· yourself and your three children -- and three                17· · · ·Q.· · So staying in a home with mold in it
18· children, not all yours -- but to move yourself and          18· sounds dangerous.
19· three children out of the vacant home on Luella and          19· · · ·A.· · It was.
20· into a car?                                                  20· · · ·Q.· · And staying in a home with no heat in
21· · · ·A.· · I don't understand.                               21· Chicago in December sounds dangerous.
22· · · ·Q.· · I guess I'm trying to understand.· If the         22· · · ·A.· · It was.
23· house on Luella Avenue -- you're living in it,               23· · · ·Q.· · Did you have anywhere else you could have
24· right?· Nobody else is trying to move in, correct?           24· gone besides the car?


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     Case 3:18-cv-07354-WHA Document 188-9 Filed 12/12/19 Page 4 of 8

COSZETTA TEAGUE                                                                                     June 27, 2019
HERNANDEZ vs WELLS FARGO                                                                                   57–60
                                                  Page 57                                                        Page 59
·1· · · ·A.· · No.· I wish.· No.                         ·1· expensive?
·2· · · ·Q.· · Until you found Governors Place, I guess. ·2· · · ·A.· · Yes.
·3· That was when you were able to move out and get into ·3· · · ·Q.· · Too expensive?
·4· a place with heat?                                   ·4· · · ·A.· · Yes.
·5· · · ·A.· · Yes.                                      ·5· · · ·Q.· · I'm going to show you what we had marked
·6· · · ·Q.· · I know this is hard.· We're almost done   ·6· at a previous deposition as Exhibit 18.· It's a
·7· with this part.                                      ·7· hefty document that I promise you we will not go
·8· · · · · · ·How long after you moved out of the       ·8· through the whole thing.
·9· Luella Avenue home with the heat problems it was     ·9· · · · · · ·It's the first amended complaint in this
10· having into your car were you able to get into       10· case.· We had talked earlier about you having
11· Governors Place?                                     11· reviewed a complaint in this case, and I'm wondering
12· · · ·A.· · It was March 2015.                        12· if this is the complaint that you have reviewed?
13· · · ·MS. GROVES:· Let's take a little break.· I know 13· · · · · · ·If it's helpful, you were probably
14· this part isn't fun.                                 14· reviewing the parts that described your claims, in
15· · · ·THE VIDEOGRAPHER:· We are off the record.· The 15· particular, and those are at paragraphs 101, 102,
16· time is 10:51 a.m.                                   16· that area.
17· · · · · · · · · (WHEREUPON, a recess was had.)       17· · · ·A.· · Yes.
18· · · ·THE VIDEOGRAPHER:· We are back on the record. 18· · · ·Q.· · When we were talking about the complaint
19· The time is 10:59 a.m.                               19· earlier that you had reviewed at the beginning of
20· BY MS. GROVES:                                       20· the case and then again in connection with your
21· · · ·Q.· · Ms. Teague, I'm going to show you a       21· deposition preparation, Exhibit 18 is the complaint
22· document that we had marked at a previous deposition 22· you reviewed, right?· It's this document?
23· as Exhibit 18.                                       23· · · · · · ·I'll ask it again.· Do you remember
24· · · · · · ·I guess while he's pulling that, what     24· earlier in your deposition we were talking about the

                                                  Page 58                                                        Page 60
·1· caused the hot water heater to break in the Luella      ·1· complaint that you reviewed with Josh when you first
·2· Avenue home?                                            ·2· started getting involved in the case?
·3· · · ·A.· · It was old.· It rust.                        ·3· · · ·A.· · Yes.
·4· · · ·Q.· · Was replacing it just really expensive?      ·4· · · ·Q.· · We talked about the complaint you
·5· · · ·A.· · Yes.                                         ·5· reviewed, right?
·6· · · ·Q.· · And that caused the heat to go out also?     ·6· · · ·A.· · Yes.
·7· · · ·A.· · Yes.                                         ·7· · · ·Q.· · You reviewed that same complaint
·8· · · ·Q.· · Is it the same issue that caused the         ·8· yesterday to help prepare for your deposition,
·9· mold -- or the flood?· Or both?· That was not a good    ·9· correct?
10· question.                                               10· · · ·A.· · Yes.
11· · · · · · ·Did you say there had been some flooding     11· · · ·Q.· · And the complaint that we were talking
12· in the basement?                                        12· about is what you're now looking at, Exhibit 18,
13· · · ·A.· · Yes.                                         13· right?
14· · · ·Q.· · Was that connected to the water heater       14· · · ·A.· · Yes.
15· issue?                                                  15· · · ·Q.· · Can you look at paragraph 104 on page 19
16· · · ·A.· · The flood was coming through.· Every time    16· of the complaint.
17· it rained water would seep through the walls of the     17· · · ·A.· · 104?
18· house.                                                  18· · · ·Q.· · Yes.
19· · · ·Q.· · So that was just a function of the way       19· · · ·A.· · Yes.
20· the house was constructed?· It was cracked?             20· · · ·Q.· · In paragraph 104 and in paragraph --
21· · · ·A.· · Yes.                                         21· strike that.
22· · · ·Q.· · That's what caused the mold?                 22· · · · · · ·Let's look at paragraph 105.· It says
23· · · ·A.· · Yes.                                         23· that you lived in your car until sometime around
24· · · ·Q.· · Again, getting that fixed, I assume, was     24· March of 2015.· March 2015 is when you moved into


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     Case 3:18-cv-07354-WHA Document 188-9 Filed 12/12/19 Page 5 of 8

COSZETTA TEAGUE                                                                                     June 27, 2019
HERNANDEZ vs WELLS FARGO                                                                                   85–88
                                                Page 85                                                          Page 87
·1· modification in addition to lowering the payment       ·1· payment that had gone up due to the property taxes
·2· could change any of the other terms of your            ·2· and made the payment 637 or less, you would have
·3· mortgage, like the length of the term of the           ·3· been able to afford it and stay in the house?
·4· mortgage or the interest rate?                         ·4· · · ·A.· · Yes.
·5· · · · · · ·Did you have any understanding about what   ·5· · · ·Q.· · And that's why you approached them for a
·6· other terms might change as a result of the            ·6· modification?
·7· modification?                                          ·7· · · ·A.· · Yes.
·8· · · ·A.· · No.                                         ·8· · · · · · · · · (WHEREUPON, certain documents were
·9· · · ·Q.· · You were focused on the amount of the       ·9· · · · · · · · · marked Deposition Exhibit Nos.
10· monthly payment; is that fair?                         10· · · · · · · · · 298-299 for identification, as of
11· · · ·A.· · Yes.                                        11· · · · · · · · · 06-27-2019.)
12· · · ·Q.· · You were trying to get the monthly          12· BY MS. GROVES:
13· payment lowered from the $840?                         13· · · ·Q.· · Ms. Teague, we've put in front of you a
14· · · ·A.· · Yes.                                        14· couple of documents.· Exhibit 298, which appears to
15· · · ·Q.· · Could you have still afforded -- go         15· be a handwritten note from you dated March 7, 2012,
16· ahead.                                                 16· and it's WF Hernandez 61146.· Is this a letter that
17· · · ·A.· · Excuse me.· From my understanding, I        17· you sent to Wells Fargo requesting the modification
18· thought it was no longer 837.· I thought it was        18· we just talked about?
19· 1267.· That's -- wait a minute.· That was the          19· · · ·A.· · Yes.
20· understanding that --                                  20· · · ·Q.· · And then Exhibit 299 is also dated March
21· · · ·Q.· · That's fair.· I should back up.· It was     21· of 2012.· It's Bates labeled WF Hernandez 50359
22· the eight -- strike that.                              22· through 61.· Is this also communication that you
23· · · · · · ·If we start at the beginning it was         23· sent to Wells Fargo in connection with your request
24· six --                                                 24· for the modification?

                                                Page 86                                                        Page 88
·1· · · ·A.· · Six seventy-two.                          ·1· · · ·A.· · Yes.
·2· · · ·Q.· · And then it went to the 838 and then      ·2· · · ·Q.· · You filled out the information and
·3· because you fell behind on the 838 on the escrow, it ·3· handwriting here on Exhibit 299?
·4· went up to the 1200, right?                          ·4· · · ·A.· · Yes.
·5· · · ·A.· · Yes.                                      ·5· · · ·Q.· · Let's look at Exhibit 298 first.· You
·6· · · ·Q.· · When you reached out to them in the --    ·6· note that you're having a hard time right now --
·7· when you reached out to them to talk about a         ·7· hardest time, even paying your mortgage?
·8· modification, were you looking for a lower payment   ·8· · · ·A.· · Yes.
·9· that was closer to the $637 that you had started off ·9· · · ·Q.· · You note that in the past you were able
10· with?                                                10· to pay the mortgage, but with it being $1,267 you
11· · · ·A.· · Yes.                                      11· couldn't pay that amount, correct?
12· · · ·Q.· · Could you have afforded something more    12· · · ·A.· · Yes.
13· than the $637?                                       13· · · ·Q.· · That was a result of the taxes we talked
14· · · ·A.· · No.                                       14· about, right?
15· · · ·Q.· · So you needed Wells Fargo to lower your   15· · · ·A.· · Yes.
16· monthly payment to something below $637 in order for 16· · · ·Q.· · It was also true at this time that the
17· you to afford it?                                    17· $838 amount was also an amount you couldn't pay,
18· · · ·A.· · Or if it could have stayed at the 637.    18· right?
19· When I bought the house, that was my understanding 19· · · ·A.· · Yes.
20· that it was going to be the 637.                     20· · · ·Q.· · You didn't put in the letter that you
21· · · ·Q.· · Right.· So you were surprised when six    21· were asking for the $637 lower payment, did you?
22· months later the property taxes went up, right?      22· You didn't include that in the letter?
23· · · ·A.· · Yes.                                      23· · · ·A.· · No.
24· · · ·Q.· · If Wells Fargo could have taken your      24· · · ·Q.· · Did you ever talk with anybody at Wells


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    Case 3:18-cv-07354-WHA Document 188-9 Filed 12/12/19 Page 6 of 8

COSZETTA TEAGUE                                                                                            June 27, 2019
HERNANDEZ vs WELLS FARGO                                                                                          89–92
                                                   Page 89                                                        Page 91
·1· Fargo about that number, specifically?               ·1· that time period?
·2· · · ·A.· · What?                                     ·2· · · ·A.· · Yes.
·3· · · ·Q.· · I'll ask that again.                      ·3· · · ·Q.· · So is it fair to say that even if you had
·4· · · · · · ·Did you ever have any phone conversations ·4· included Iesha's disability checks in here, your
·5· with anybody at Wells Fargo about the fact that the  ·5· expenses exceeded your income even if the mortgage
·6· amount of the mortgage payment that you could afford ·6· payment was $838?
·7· was the original 637 or less?                        ·7· · · ·A.· · Yes.
·8· · · ·A.· · Yes.                                      ·8· · · ·Q.· · On the first page of Exhibit 299 it says
·9· · · ·Q.· · You told them that over the phone?        ·9· select -- on the right where you provide the --
10· · · ·A.· · Yes.                                      10· select the option that best matches the reason you
11· · · ·Q.· · What was the response to that, if they    11· need assistance, the first box is checked, death or
12· had any?                                             12· illness of the borrower, co-borrower or a family
13· · · ·A.· · I remember -- I recall them saying        13· member.
14· regardless it was going to be the 1267.              14· · · · · · ·What are you referring to there?· Is that
15· · · ·Q.· · Even if it was modified?                  15· your disability?· I should just ask you.· What was
16· · · ·A.· · Yes.                                      16· that referring to?
17· · · ·Q.· · Look at Exhibit 299.· You filled out, it  17· · · ·A.· · Repeat that.
18· looks like, your income and your expenses.· You      18· · · ·Q.· · What did you mean when you checked the
19· don't reference in here the child support under the  19· box for death or illness of the borrower,
20· income.                                              20· co-borrower or a family member was the reason for
21· · · · · · ·Were you receiving child support in March 21· needing assistance?
22· of 2012?· This might have been around the time you 22· · · ·A.· · That was when I lost my mother.
23· said it stopped.· Do you recall?                     23· · · ·Q.· · You had burial expenses?
24· · · ·A.· · I don't remember.                         24· · · ·A.· · Yeah.

                                                   Page 90                                                             Page 92
·1· · · ·Q.· · If you were receiving it, would you have      ·1· · · ·Q.· · And then a box is checked for problems
·2· put it in the income?                                    ·2· with the property.· What problems were you having
·3· · · ·A.· · Yes.                                          ·3· with the property in March of 2012?
·4· · · ·Q.· · So the fact that it's not listed as part      ·4· · · ·A.· · That was the mold.
·5· of your income in March of 2012, that leads you to       ·5· · · ·Q.· · That had already started in 2012?
·6· believe that you weren't receiving it at that time?      ·6· · · ·A.· · It was in 2011.· It started in 2011.
·7· · · ·A.· · Yes.                                          ·7· · · · · · ·I need some time.
·8· · · ·Q.· · Did you include the income you were           ·8· · · ·Q.· · That's okay.· We can take a break.
·9· receiving through Iesha's disability?                    ·9· · · ·THE VIDEOGRAPHER:· We are off the record.· The
10· · · ·A.· · No, it don't look like I did.                 10· time is 12:07 p.m.
11· · · ·Q.· · Were you receiving income from her            11· · · · · · · · · (WHEREUPON, a recess was had.)
12· disability at that time?                                 12· · · ·THE VIDEOGRAPHER:· We are back on the record.
13· · · ·A.· · Yes.                                          13· The time is 12:16 p.m.
14· · · ·Q.· · Why didn't you list it?                       14· BY MS. GROVES:
15· · · ·A.· · I don't know.                                 15· · · ·Q.· · Ms. Teague, we were talking a little bit
16· · · ·Q.· · And then you have some expenses listed.       16· before the break about the modification that you
17· Who are the three people who were living in your         17· requested from Wells Fargo in 2012, and specifically
18· household in March of 2012?· Does that look right to     18· right before the break we were talking about the
19· you?                                                     19· problems with the house.· I just have one question
20· · · ·A.· · No.                                           20· on the mold issue with the house.
21· · · ·Q.· · It would either be two or four, correct?      21· · · · · · ·Could you afford to have that issue fixed
22· · · ·A.· · Right.· Exactly.                              22· in 2012?
23· · · ·Q.· · And then you have some estimates of your      23· · · ·A.· · No.
24· monthly spending.· Do those look about right for         24· · · ·Q.· · Were you ever able to afford to have that


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    Case 3:18-cv-07354-WHA Document 188-9 Filed 12/12/19 Page 7 of 8

COSZETTA TEAGUE                                                                                 June 27, 2019
HERNANDEZ vs WELLS FARGO                                                                               93–96
                                                Page 93                                                    Page 95
·1· issue fixed?                                           ·1· · · ·A.· · No.· It was --
·2· · · ·A.· · No.                                         ·2· · · ·Q.· · Later when the water heater --
·3· · · ·Q.· · What happened with the modification         ·3· · · ·A.· · Right.
·4· request that you made in 2012?· Was it granted,        ·4· · · ·MR. BLOOMFIELD:· Try to make sure to let her
·5· denied?                                                ·5· finish the question.
·6· · · ·A.· · It was denied.                              ·6· · · ·THE WITNESS:· Okay.
·7· · · ·Q.· · What did you understand the reason for      ·7· · · ·MS. GROVES:· Sorry.· We're kind of doing the
·8· the denial to be in 2012?· Do you know why they        ·8· conversation thing.· That was my fault as much as
·9· denied it in 2012?                                     ·9· anything.
10· · · ·A.· · At the time I didn't know why they denied   10· · · · · · ·We'll mark this one next, please.
11· it, but I got a letter recently telling me that --     11· · · · · · · · · (WHEREUPON, a certain document was
12· · · ·Q.· · I think that letter might be for a later    12· · · · · · · · · marked Deposition Exhibit No. 300,
13· modification.                                          13· · · · · · · · · for identification, as of
14· · · ·A.· · Yes.                                        14· · · · · · · · · 06-27-2019.)
15· · · ·Q.· · For the one in 2012, you were told at       15· BY MS. GROVES:
16· some point that it was denied?                         16· · · ·Q.· · We're showing you a document that we've
17· · · ·A.· · Yes.                                        17· marked as Exhibit 300.· It's Bates labeled WF
18· · · ·Q.· · You don't know, as you sit here today,      18· Hernandez 50189 to 204.
19· what the reason for that was?· Do you remember?        19· · · · · · ·Did you understand that after the
20· · · ·A.· · No.                                         20· modification was denied in 2012 that the foreclosure
21· · · ·Q.· · Do you know if you were ever told?          21· process was going to begin?
22· · · ·A.· · No, I can't recall.                         22· · · ·A.· · Yes.
23· · · ·Q.· · At what point in time -- strike that.       23· · · ·Q.· · Is Exhibit 300 a September 25, 2012
24· · · · · · ·Did the mold issue in the house, did it     24· complaint to foreclose the mortgage on the property

                                                Page 94                                                    Page 96
·1· ever get so bad that it made the house uninhabitable   ·1· at issue here?
·2· on its own?                                            ·2· · · ·A.· · Say that again.
·3· · · ·A.· · Yes.                                        ·3· · · ·Q.· · Is Exhibit 300 a copy of the foreclosure
·4· · · ·Q.· · When did that happen?                       ·4· complaint for the property at issue in this case?
·5· · · ·A.· · Around that time, like September.· I'd      ·5· · · ·A.· · Yes.
·6· say between August of 2011 up until I left.· The       ·6· · · ·Q.· · You had described earlier today that you
·7· mold was -- it was really, really bad.                 ·7· had hired a lawyer in connection with the
·8· · · ·Q.· · But you stayed there during that time       ·8· foreclosure?
·9· period?                                                ·9· · · ·A.· · Yes.
10· · · ·A.· · No, I couldn't, because I couldn't          10· · · ·Q.· · What led you to do that?· Why did you
11· breathe.                                               11· hire a foreclosure lawyer?
12· · · ·Q.· · Where were you staying?                     12· · · ·A.· · For one, I was afraid that I was about to
13· · · ·A.· · I'm sorry.                                  13· lose my house.· And people were telling me that
14· · · ·Q.· · Did you live in the house between           14· that's what I should do.· And I didn't know my
15· August 2011 and the time --                            15· rights.· I didn't know.· I didn't understand it and
16· · · ·A.· · Yes.                                        16· didn't know what was going on.
17· · · ·Q.· · Even though the mold was really bad, you    17· · · ·Q.· · How did you find the lawyer?
18· stayed there?                                          18· · · ·A.· · Through an ad on the radio.
19· · · ·A.· · Right.· But you said -- you said            19· · · ·Q.· · It was Matthew Wildermuth?
20· something about it getting bad.                        20· · · ·A.· · Yes.
21· · · ·Q.· · Right.                                      21· · · ·Q.· · Did you ever meet Mr. Wildermuth in
22· · · ·A.· · Right.· That's when I left, when it got     22· person?
23· real bad.                                              23· · · ·A.· · No.
24· · · ·Q.· · Was that in August of 2011?                 24· · · ·Q.· · Did you ever -- I think you said


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     Case 3:18-cv-07354-WHA Document 188-9 Filed 12/12/19 Page 8 of 8

COSZETTA TEAGUE                                                                                           June 27, 2019
HERNANDEZ vs WELLS FARGO                                                                                        97–100
                                                Page 97                                                  Page 99
·1· somewhere he charged $4,000.· Does that sound right? ·1· by 2013 such that you could afford to make -- strike
·2· · · ·A.· · Yes.                                      ·2· that.
·3· · · ·Q.· · Did you ever pay him the $4,000?          ·3· · · · · · ·As of the modification request in 2013,
·4· · · ·A.· · Yes.                                      ·4· were you still seeking to have the reinstatement of
·5· · · ·Q.· · Were you satisfied with his services?     ·5· the payment of 638 or less for a modification?
·6· · · ·A.· · No.                                       ·6· That's still the amount you were looking for?
·7· · · · · · · · · (WHEREUPON, a certain document was   ·7· · · ·A.· · Yes.
·8· · · · · · · · · marked Deposition Exhibit No. 301,   ·8· · · ·Q.· · In connection with this modification
·9· · · · · · · · · for identification, as of            ·9· application, did you have any conversations with
10· · · · · · · · · 06-27-2019.)                         10· anybody at Wells Fargo about the fact that you were
11· BY MS. GROVES:                                       11· looking for a modification in that amount?
12· · · ·Q.· · Showing you Exhibit 301, which is labeled 12· · · ·A.· · Repeat that.· I didn't get it.
13· WF Hernandez 49565 through 867.· Did you understand 13· · · ·Q.· · No problem.
14· in August 2013 that your lawyer was submitting an    14· · · · · · ·So we talked earlier in connection with
15· application for you for a modification, a mortgage   15· the 2012 mortgage modification application that you
16· modification?                                        16· had wanted to have a payment of $637 or less in
17· · · ·A.· · Yes.                                      17· connection with the 2012 modification request,
18· · · ·Q.· · Did you know that?                        18· right?· Do you remember that?
19· · · ·A.· · Yes.                                      19· · · ·A.· · Yes.
20· · · ·Q.· · There's -- did you give his office a      20· · · ·Q.· · You had said you did have a conversation
21· power of attorney to provide paperwork to the bank   21· with somebody at Wells Fargo about that and that
22· for your mortgage modification?                      22· they told you the payment was 1200, right?
23· · · ·A.· · What do you mean by that, power of        23· · · ·A.· · Yes.
24· attorney?                                            24· · · ·Q.· · And then we're fast-forwarding.· Now

                                                       Page 98                                                        Page 100
·1· · · ·Q.· · Did you authorize Mr. Wildermuth's office         ·1· we're in 2013 and you are still looking for a
·2· to submit an application for a mortgage modification         ·2· mortgage modification with a payment in that amount,
·3· for you?                                                     ·3· right?
·4· · · ·A.· · Yes.                                              ·4· · · ·A.· · Yes.
·5· · · ·Q.· · Have you ever seen the application that's         ·5· · · ·Q.· · Did you have any conversations with
·6· included in Exhibit 301?· It looks like it's at              ·6· anyone at Wells Fargo in connection with this 2013
·7· page -- if you look in the lower right-hand corner,          ·7· modification about that?
·8· there's numbers.· The page ending in 49570.                  ·8· · · ·A.· · No.· I just wanted to make sure I
·9· · · ·A.· · Okay.                                             ·9· understood it.
10· · · ·Q.· · Do you see this is a making home                  10· · · ·Q.· · That is an excellent thing to do.
11· affordable program request for mortgage assistance?          11· · · ·A.· · It got confusing.· Okay.
12· · · · · · ·Do you see that reference there on the            12· · · ·Q.· · It worked out just fine.· I understand
13· top of the left page -- the left top of the page?            13· the answer.
14· · · ·A.· · Uh-huh.                                           14· · · ·A.· · Thank you.
15· · · ·Q.· · Yes?                                              15· · · ·Q.· · What happened with your lawyer?· What did
16· · · ·A.· · Yes.                                              16· he accomplish with you?
17· · · ·Q.· · Have you ever seen this before, this              17· · · ·A.· · Thank you for asking me that.· Nothing.
18· application?                                                 18· You know, I don't even know what this is.· I never
19· · · ·A.· · I don't remember this.· No, I do not. I           19· saw this.· I didn't have -- they really didn't
20· don't remember seeing this.                                  20· communicate with me.· I was just stuck.
21· · · ·Q.· · We walked through earlier, I think, what          21· · · ·Q.· · You never -- did you even ever talk with
22· your income was at the time of -- in August of 2013?         22· Mr. Wildermuth?
23· · · ·A.· · Yes.                                              23· · · ·A.· · Never.· I never met that man.· Never.· He
24· · · ·Q.· · Had anything in your situation improved           24· never even spoke -- I didn't even know who he was.


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